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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF IDAHO




GEMINI TECHNOLOGIES, INCORPORATED,                       Case No.: 1:18-cv-00035-REP
an Idaho corporation,
                                                         AMENDED SCHEDULING ORDER
      Plaintiff,

      vs.

SMITH & WESSON, CORP., a Delaware
corporation; and AMERICAN OUTDOOR
BRANDS CORPORATION, a Massachusetts
corporation,

      Defendants.



      Consistent with the stipulated pre-trial deadlines identified within the parties’ Joint Status

Report (Dkt. 186), IT IS HEREBY ORDERED that:

   1. Dispositive Motion Deadline: All dispositive motions, including motions to add a claim

      for punitive damages, must be filed by August 15, 2025.

   2. Disclosure of Experts:

            a. Defendants must disclose the experts intended to be called at trial on or before

               May 15, 2025.

            b. Plaintiff must disclose rebuttal experts intended to be called at trial on or before

               July 17, 2025.

            c. ALL discovery relevant to experts must be completed by August 15, 2025.

   3. To the extent not modified herein, all other terms and conditions set forth in the Court’s

      prior Scheduling Orders (Dkts. 94, 125, 167, 175) remain unchanged unless otherwise

      ordered by the Court.


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  4. The Court will conduct a telephonic status conference with the parties on June 12,

     2025 at 11:30 a.m. Mountain Time for the purpose of inquiring about the status of

     the action. Counsel will receive a link to connect to the conference via separate email

     notification. Additional status conferences may be set by the Court at a later time.


                                   DATED: April 16, 2025


                                   ________________________
                                   Honorable Raymond E. Patricco
                                   Chief U.S. Magistrate Judge




AMENDED SCHEDULING ORDER - 2
